           Case 22-05006-gs      Doc 49   Entered 08/25/22 07:33:05     Page 1 of 4




    Entered on Docket
    August 25, 2022
___________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA

  In re:
                                                  Lead Case No.: BK-19-50102-gs
  DOUBLE JUMP, INC.,                              Chapter 7

                Debtor(s).
                                                  Substantively Consolidated With:
                                                   19-50130-gs DC Solar Solutions, Inc.
  Affects:                                         19-50131-gs DC Solar Distribution, Inc.
   X DC Solar Solutions, Inc.                      19-50135-gs DC Solar Freedom, Inc.
   X DC Solar Distribution, Inc.
   X DC Solar Freedom, Inc.
   X Double Jump, Inc.

                                                  Adv. Proc. No. 22-05006-gs
  INTERNATIONAL SPEEDWAY
  CORPORATION,

                Plaintiff,

           v.

  NEIL LURIA, IN HIS CAPACITY AS
  RECEIVER FOR SOLAR ECLIPSE
  INVESTMENT FUND IV, LLC, SOLAR
  ECLIPSE INVESTMENT FUND V, LLC,
  SOLAR ECLIPSE INVESTMENT FUND
  VI, LLC, SOLAR ECLIPSE
  INVESTMENT FUND X, LLC, SOLAR
  ECLIPSE INVESTMENT FUND XI, LLC,




                                              1
     Case 22-05006-gs   Doc 49   Entered 08/25/22 07:33:05   Page 2 of 4




SOLAR ECLIPSE INVESTMENT FUND
XV, LLC, SOLAR ECLIPSE
INVESTMENT FUND XVI, LLC, SOLAR
ECLIPSE INVESTMENT FUND XVII,
LLC, SOLAR ECLIPSE INVESTMENT
FUND XVIII, LLC, SOLAR ECLIPSE
INVESTMENT FUND XIX, LLC, SOLAR
ECLIPSE INVESTMENT FUND XXI,
LLC, SOLAR ECLIPSE INVESTMENT
FUND XXIII, LLC, SOLAR ECLIPSE
INVESTMENT FUND XXIV, LLC,
SOLAR ECLIPSE INVESTMENT FUND
XXVI, LLC, SOLAR ECLIPSE
INVESTMENT FUND XXVIII, LLC,
SOLAR ECLIPSE INVESTMENT FUND
XXIX, LLC, SOLAR ECLIPSE
INVESTMENT FUND XXX, LLC,
SOLAR ECLIPSE INVESTMENT FUND
XXXI, LLC, SOLAR ECLIPSE
INVESTMENT FUND XXXIII, LLC,
SOLAR ECLIPSE INVESTMENT FUND
XXXIV, LLC; AND SOLAR ECLIPSE
INVESTMENT FUND VII, LLC; SOLAR
ECLIPSE INVESTMENT FUND VIII,
LLC; SOLAR ECLIPSE INVESTMENT
FUND XIV, LLC; SOLAR ECLIPSE
INVESTMENT FUND XXVII, LLC;
SOLAR ECLIPSE INVESTMENT FUND
XXXII, LLC; AND SOLAR ECLIPSE
INVESTMENT FUND XXXV, LLC,

          Defendants.




                                     2
         Case 22-05006-gs        Doc 49     Entered 08/25/22 07:33:05         Page 3 of 4




                       ORDER GRANTING MOTIONS TO DISMISS
       On August 4, 2022, the court held hearings on defendant receiver Neil Luria’s Motion to

Dismiss Adversary Complaint (Adv. ECF No. 10) and defendant the East West/AHDI Funds’

Motion to Dismiss Adversary Complaint; Motion to Abstain (Adv. ECF No. 11) (collectively,

the Funds, and together the Motions). The court heard the argument of the parties, and upon

conclusion of the hearing the court set August 23, 2022, as the date for delivery of its oral ruling

on the Motions.

       On August 23, 2022, the court read its oral ruling on the Motions into the record. At the

conclusion of its oral ruling, the court heard discussion on whether dismissal should be entered

with prejudice. As the court noted, leave to amend a complaint after granting a dismissal should

be freely given. Fed. R. Civ. P. 15(a). However, leave to amend is not required if “the court

determines that the allegation of other facts consistent with the challenged pleading could not

possibly cure the deficiency.” Schreiber Distrib. Co. v. Serv-Well Furniture Co., Inc., 806 F.2d

1393, 1401 (9th Cir. 1986); see also Van Zandt v. Mbunda (In re Mbunda), 484 B.R. 344, 356

(B.A.P. 9th Cir. 2012), aff’d, 604 F. App’x 552 (9th Cir. 2015) (“When amendment would be

futile, the bankruptcy court does not abuse its discretion in dismissing the complaint without

leave to amend.”).

       The court has determined that the claims as pled by the defendants in the Florida

Litigation 1 are not property of this bankruptcy estate and belong to the defendants. Plaintiff

International Speedway Corporation (ISC) cannot plead around the Funds’ causes of action in

the Florida Litigation. Therefore, amendment of the complaint would be futile in this instance as

it cannot cure this deficiency underlying dismissal.

       For the reasons stated in the court’s oral ruling, which is incorporated herein by

reference,
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  Capitalized terms used but not otherwise defined herein have the meaning assigned to them in
the complaint filed by plaintiff International Speedway Corporation.
                                                 3
         Case 22-05006-gs       Doc 49    Entered 08/25/22 07:33:05       Page 4 of 4




       IT IS HEREBY ORDERED that the Defendant, Receiver Neil Luria’s Motion to Dismiss

Adversary Complaint (Adv. ECF No. 10) and the Motion to Dismiss Adversary Complaint;

Motion to Abstain (Adv. ECF No. 11) are GRANTED, with prejudice.

       IT IS SO ORDERED.

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Copy sent to all parties and/or their counsel via CM/ECF Electronic Notice.
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